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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


CARL ODELL VARNER,JR.,

      Plaintiff,
V.                                              Civil Action No. 3:20CV579-HEH

NURSE SUPERVISOR HENRY,et aL

      Defendants.


                             MEMORANDUM OPINION
                        (Dismissing Action Without Prejudice)

      By Memorandum Order entered on September 28, 2020 the Court directed

Plaintiffto complete and return an informa pauperis affidavit. Because it was unclear

whether the Clerk had sent Plaintiffthe informa pauperis affidavit to Plaintiff, by

Memorandum Order entered on December 16,2020,the Court sent Plaintiffthe informa

pauperis affidavit and directed him to complete and return the same to the Court within

eleven(11)days ofthe date of entry thereof.

       More than eleven(11)days have elapsed since the entry ofthe December 16, 2020

Memorandum Order and Plaintiff has not submitted the informa pauperis affidavit.

Such conduct demonstrates a willful failure to prosecute. See Fed. R. Civ. P. 41(b).

Accordingly, this action will be dismissed without prejudice.

       An appropriate Order shall accompany this Memorandum Opinion.


                                                                     /s/
                                                 HENRY E. HUDSON
Date:JAqua>rM        Zoa-•                       UNITED STATES DISTRICT JUDGE
Richmond, Virginia
